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                                                                         FILED
                            FOR PUBLICATION                                 NOV 16 2011

                                                                     MOLLY C. DWYER, CLERK
                 UNITED STATES COURT OF APPEALS                        U .S. C O U R T OF APPE ALS




                         FOR THE NINTH CIRCUIT



VETERANS FOR COMMON SENSE, a                  No. 08-16728
District of Columbia nonprofit
organization; VETERANS UNITED                 D.C. No. 3:07-cv-03758-SC
FOR TRUTH, INC., a California
nonprofit organization, representing
their members and a class of all              ORDER
veterans similarly situated,

           Plaintiffs - Appellants,

 v.

ERIC K. SHINSEKI, Secretary of
Veterans Affairs; UNITED STATES
DEPARTMENT OF VETERANS
AFFAIRS; JAMES P. TERRY,
Chairman, Board of Veterans’ Appeals;
MICHAEL WALCOFF, Acting Under
Secretary, Veterans Benefits
Administration; BRADLEY G.
MAYES, Director, Compensation and
Pension Service; ROBERT A. PETZEL,
M.D., Under Secretary, Veterans Health
Administration; PRITZ K. NAVARA,
Veterans Service Center Manager,
Oakland Regional Office, Department
of Veterans Affairs; UNITED STATES
OF AMERICA,

           Defendants - Appellees.
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KOZINSKI, Chief Judge:

      Upon the vote of a majority of nonrecused active judges, it is ordered that

this case be reheard en banc pursuant to Circuit Rule 35-3. The three-judge panel

opinion shall not be cited as precedent by or to any court of the Ninth Circuit.

      Judge W. Fletcher did not participate in the deliberations or vote in this case.
